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         Exhibit 1
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                                             CERTIFICATION PURSUANT
                                           TO FEDERAL SECURITIES LAWS


                      1.    I, Alex Freeman, make this declaration pursuant to Section 27(a)(2) of the

            Securities Act of 1933 (“Securities Act”) and/or Section 21D(a)(2) of the Securities Exchange

            Act of 1934

            (“Exchange Act”) as amended by the Private Securities Litigation Reform Act of 1995.

                      2.    I have reviewed a Complaint against Spirit AeroSystems Holdings, Inc.

            (“Spirit” or the “Company”) and authorize the filing of a comparable complaint on my

            behalf.

                      3.    I did not purchase or acquire Spirit securities at the direction of counsel or in order to

            participate in any private action arising under the Securities Act or Exchange Act.

                      4.    I am willing to serve as a representative party on behalf of a Class of investors who

            purchased or otherwise acquired Spirit securities during the Class Period, including providing

            testimony at deposition and trial, if necessary. I understand that the Court has the authority to

            select the most adequate lead plaintiff in this action.

                      5.    To the best of my knowledge, the attached sheet lists all of my transactions in Spirit

            securities during the Class Period as specified in the Complaint.

                      6.    During the three-year period preceding the date on which this Certification is

            signed, I have not served or sought to serve as a representative party on behalf of a class under the

            federal securities laws.

                      7.    I agree not to accept any payment for serving as a representative party on behalf of

            the class as set forth in the Complaint, beyond my pro rata share of any recovery, except such

            reasonable costs and expenses directly relating to the representation of the class as ordered or

            approved by the Court.
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                    8.      I declare under penalty of perjury under the laws of the United States of America

            that the foregoing is true and correct.



                           12/8/2023
           Executed
                            (Date)




                                                                  (Signature)


                                                                     Alex Freeman
                                                                  (Type or Print Name)
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                                        SUMMARY OF PURCHASES AND SALES



                    DATE              PURCHASE OR                  NUMBER OF    PRICE PER SHARE
                                         SALE                       SHARES

             08/31/2022             Purchase                 200               $30.90
             09/09/2022             Purchase                 19                $29.58368
             12/13/2022             Purchase                 171               $29.15
             04/25/2023            Sale                      10                $30.0706
             04/25/2023            Sale                      380               $29.6609
             04/26/2023            Purchase                  365               $30.675
             06/09/2023            Sale                      365               $31.20

             06/30/2023            Purchase                  388               $29.2042
             07/07/2023            Sale                      388               $29.3428

             07/13/2023            Purchase                  391               $29.1683

             07/14/2023            Purchase                  1                 $27.94
             08/01/2023            Sale                      392               $31.3058
             08/02/2023            Purchase                  430               $28.5535

             08/18/2023            Sale                      430               $21.4167
             08/25/2023            Purchase                  467               $19.6195
